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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

JOHN DOE                                                §
                                                        §
v.                                                      §
                                                        §         CIVIL ACTION NO. 2:21-cv-257
TEXAS A&M UNIVERSITY-                                   §         JURY
KINGSVILLE & MARK HUSSEY                                §
in his official capacity as President                   §
of TEXAS A&M UNIVERSITY-                                §
KINGSVILLE                                              §

                               PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         NOW COMES Plaintiff, John Doe 1 (hereinafter “Doe” or “Plaintiff”), filing this his

Plaintiff’s Original Complaint, complaining of Texas A&M University-Kingsville and Mark

Hussey in his official capacity as President of Texas A&M University-Kingsville (hereinafter

“Defendant” or “University”) and showing in support thereof as follows:

                                              I. INTRODUCTION

1.       This is an action for damages and injunctive relief to prevent Defendant from causing

irreparable harm to Doe by separating him from his education. It arises from the actions taken, and

procedures used, by the University and its agents and/or employees in connection with a

disciplinary proceeding initiated against Plaintiff, a male junior, concerning an unsupported

allegation of sexual assault made by (fellow student) Roe, and the sanctions that the University

has imposed as a result of that flawed proceeding and its procedural irregularities which all resulted

in an erroneous outcome.



1
  Due to the nature of the allegations in this lawsuit, Plaintiff is proceeding under the pseudonym “John Doe” and
identifies his accuser as “Jane Roe.” Plaintiff identifies other Texas A&M University-Kingsville students by their
initials. Plaintiff is simultaneously filing his Plaintiff’s Motion to Proceed Under a Pseudonym, with this complaint.
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2.       The University’s hearing officer treated Roe and Doe’s testimony differently on the basis

of gender. The hearing panel concluded that consent for the sexual acts was not obtained due to

the level of intoxication of the complainant. The evidence used to support that finding is

inconsistent, inconclusive and did not support that decision because it was not at all apparent to

Doe that Roe was “incapable of providing consent.”

3.       The panel failed to make any finding that Roe was “incapacitated,” as defined by the

University rules, 2 nor was there any evidence that Roe’s alleged “incapability of providing

consent” was readily apparent to Doe. Per the University’s policy, intoxication does not negate

consent only “incapacitation” does.

4.       The small amount of alcohol Roe drank in Doe’s presence during the several hours (about

four and one-half hours) they spent together – 50 milliliters (one “shot”) of liquor (possibly vodka)3

and three Smirnoff Ice4,5, could not have rendered her incapacitated, impaired and/or unable to

provide consent.

5.       In the University’s report that was admitted into evidence at the hearing,6 Roe’s friend,

X.S., states she had previously seen Roe drink five to six shots of Hpnotiq7 which resulted in Roe

being “in a good mood,” but she was able to handle that alcohol intake.8 On cross-examination,

Doe’s counsel was completely blocked from asking Roe any questions – AT ALL – about alcohol

– how often she uses alcohol, how many times she had previously consumed alcohol, her habits


2
  See Exhibit 1 (“Final Draft Report”), pp. 21-50. Contained within the Final Draft Report are Texas A&M’s system-
wide regulations, specifically pp. 21-50 refer to Rule 08.08.01 Civil Rights Compliance.
3
  Vodka is 40% alc/vol; https://drinklively.com/what-proof-is-vodka/
4
    Smirnoff Ice is 4.5% alc/vol; https://drizly.com/beer/specialty-beer-alternatives/malt-liquor/smirnoff-ice-
original/p4696
https://alcoholvolume.com/smirnoff-ice-alcohol-content-percentage/
5
  The University’s report inaccurately states that Smirnoff Ice is 5% alc/vol, citing to Smirnoff’s website which does
not actually publish any alcohol content for any of its products. See Exhibit 1, p.5.
6
  See generally Exhibit 1.
7
  Hpnotiq is 17% alc/vol; http://www.hpnotiq.com/
8
  See Exhibit 1, p.5, ¶ 4.



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regarding consumption of alcohol, and – ESPECIALLY – whether she consumed alcohol before

meeting-up with Plaintiff on the night in question.9

6.        Roe – who testified that she was intoxicated – also testified that she did not want to have

sex with Doe. While Doe – who was not intoxicated – testified that Roe fully consented. The

University’s hearing officer treated Roe and Doe’s testimony differently on the basis of gender.

7.        The hearing officer found Doe responsible for sexual assault and expelled him from the

University based on a record that was:

             a. devoid of evidence that Roe did not give affirmative consent before and during the

                  sexual encounter;

             b. devoid of evidence of Roe’s intoxication rising to the level of incapacitation; and

             c. devoid of evidence that Roe’s alleged incapacitation would have been apparent to

                  a sexual partner.

8.        When the degree of doubt about the reliability of a disciplinary proceeding passes from

articulable to grave, the merits of the decision itself can support an inference of sex bias, which

resulted in an erroneous outcome.

                                  II.      JURISDICTION AND VENUE

9.        The Court has federal question jurisdiction under 28 U.S.C. § 1331, because Doe’s claims

arise under federal law, namely Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681

et seq.

10.       The Court has supplemental jurisdiction over John Doe’s state law claims under 28 U.S.C.

§ 1367, because those claims are so closely related to his federal law claim as to form the same

case or controversy under Article III of the United States Constitution.


9
   While the hearing was recorded in its entirety, Plaintiff and his counsel – to date – are not allowed access to the
transcript/recording.



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11.        This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C. § 1391.

The defendant university’s principal place of business is within this district and a substantial part

of the events or omissions giving rise to the claims occurred in this district.

                                            III.    PARTIES

12.        At all material times, John Doe resided within this judicial district, the Southern District of

Texas, while attending Texas A&M University-Kingsville.

13.        Defendant Texas A&M University-Kingsville is a general academic teaching institution

pursuant to Section 61.003 of the Texas Education Code. Defendant may be served by and through

its President, Mark Hussey, at the Office of the President, 1050 West Santa Gertrudis, Memorial

Student Union Building Room 136, Kingsville, Texas 78363.

                                   IV.     STATEMENT OF FACTS

14.        Whenever in this complaint Plaintiff pleads that Defendant engaged in an act or omission,

Plaintiff likewise pleads that Defendant, its officers, agents, servants, employees or

representatives, engaged in said act or omission in the course and scope of employment and/or

with the full authorization or ratification of Defendant.

15.        Doe and Roe began messaging one another via social media app, Twitter, on or about May

2020. Between May 2020 and September 2020, the two messaged frequently and began to build a

relationship. In fact, in or about July 2020, Roe even introduced Doe to her family, who liked him

and thought he was cool.10 One of Roe’s family members even assumed the two were sexually

active and asked Doe how many bagels he could place on his erect penis.11




10
     See Exhibit 1, p. 73
11
     See Exhibit 1, pp. 73-74



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16.        Roe was also very outspoken to Doe about her frequent use of alcohol.12 It was, therefore,

not surprising to Doe that on September 1, 2020, Roe accepted his invitation to hang out and drink

alcohol at his place.13 On that date, Doe and Roe made a plan to hang-out at his place where they

both agreed they would drink alcohol. Roe told Doe ahead of time that she does not “drink and

drive” and asked Doe to pick her up because she knew she would be drinking alcohol. When Doe

picked-up Roe, he offered her a shot of alcohol (possibly vodka) which she accepted and drank.

When the pair got back to Doe’s apartment – over about four and one half hours – they shared a

six-pack of Smirnoff Ice, both drinking three. Doe added a bottle cap of moonshine to each of his.

Doe testified that at no point during the evening did Roe slur her speech or need any assistance

walking. The only difference Doe testified that he saw in Roe’s conduct was that she was more

honest and candid in their conversation.

17.        At some point, Doe playfully spanked Roe – who didn’t tell Doe to stop, nor did she give

him any verbal or non-verbal cues that she was uncomfortable. When Doe then placed his hand on

Roe’s thigh she didn’t react adversely and the two began to have sex on the couch, with Roe on

top. The couple then decided to go into the bedroom where they both walked together – again Roe

walking on her own without needing any assistance. The couple continued having consensual sex

in the bedroom and afterwards, Roe went to the restroom where she apparently vomited and called

her friends to pick her up. After exiting the restroom, Roe – who did not appear at all upset to Doe

– gathered her belongings and left Doe’s apartment, without expressing any contention or

concerns.




12
     See Exhibit 1, pp. 76, 77, 82.
13
     See Exhibit 1, pp. 84-85.



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18.        Although the alleged “sexual misconduct” took place on September 1, 2020, it was not

until March 23, 2021 – almost seven months later – that Roe filed a complaint with the University.

In the interim, a criminal investigation was launched which resulted in a No-Bill by the grand jury.

19.        On September 16, 2021 a Zoom hearing was held by a three-member panel, which lasted

approximately five hours. Said proceedings were so flawed that Plaintiff cannot fathom a court

would find a semblance of due process within them. Plaintiff’s main concerns with the proceedings

are (but not limited to) the following:

        1)      that the accusations against Plaintiff were taken as true and that the burden (a term left

                “un-defined” during the process) of disproving same was made his – in violation of

                the University’s own policy;14

        2)      that, after securing counsel immediately before the hearing, Plaintiff was not allowed

                an extension of time to consult, gather evidence (such as phone records, police reports,

                the No Bill from the Grand Jury, statements provided to law enforcement, etc…)

                and/or consult with experts to confront the evidence asserted against him;

        3)      that Plaintiff was not allowed to present any evidence to the University “investigators”

                during the investigation and/or that any such evidence Plaintiff tried to present was

                refused by the investigators;

        4)      that neither Plaintiff nor the panel was provided with any of the recorded statements –

                recorded by the University investigators – of Doe, Roe or any of the witnesses in the

                case;

        5)      that Plaintiff’s unsigned “statement” was offered into evidence as part of the record

                despite Plaintiff’s testimony that the statement was inaccurate – although Plaintiff was



14
     See Exhibit 1, pp. 37-38; University Rule 4.2.10 (b).



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            not allowed to testify how or why. Further, the recordings – that were not allowed into

            the record – of Plaintiff’s actual statement did not comport with the statement prepared

            by the University;

      6)    that Plaintiff’s counsel was not allowed to provide any argument/statement on his

            behalf;

      7)    that Plaintiff was not allowed (through his counsel or otherwise) to object to any

            questions or queries in the case by the panel;

      8)    that reports of “suspected” or asserted alcohol levels – which were completely made-

            up by the University – were allowed into the record without any actual evidence,

            support-in-fact and without any sponsor of same;

      9)    that nearly every question asked concerning the potential bias of the witnesses, the

            context within which the events occurred and/or the (wholly inaccurate) information

            included within the “packet” were not allowed;

      10)   that every question concerning the complainant’s alcohol consumption, sexual

            proclivity and/or bias were disallowed entirely; and

      11)   that there was absolutely no allowance to secure the obvious evidence which was

            requested by Plaintiff and/or the panel members for the purpose of having a true

            hearing on the accuracy and context of the allegations before ending the career and

            education of a young man.

20.    Plaintiff asserts that the above-noted procedural irregularities significantly and erroneously

impacted the outcome in that they mandated a “one-sided” process directed at allowing whatever

supports Roe’s allegations into the “record” and disallowing or ignoring evidence to the contrary,




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in violation of Doe’s due process rights and/or under the concept of fundamental fairness in

adversarial proceedings.

21.      Plaintiff asserts that additional evidence – which is in the care of the University and

available to the “investigators” involved herein, but not to Plaintiff – concerning the No Bill of his

criminal case and/or concerning the previous testimony/statements of witnesses – prevented the

panel from being provided with a clear picture of the actual context and contrary statements made

and relied upon by the Grand Jury that No Billed Plaintiff.

22.      Plaintiff asserts that either in compliance with official mandates to “crack down” on those

accused of sexual misconduct and/or in an effort to appease the “me too” movement and supporters

of same (as opposed to the more constitutional “deciding a case on the individual facts

movement”), the Title IX Coordinator, investigators (in particular), and decision-makers (who do

not even issue their own opinion or decision) had a bias for Roe and against Doe, and that such

bias permeated the investigation, the allowed (and disallowed) evidence which significantly

impaired the decision making and resulted in an erroneous outcome.

23.      Plaintiff asserts that given the above-noted procedural irregularities, the belated complaint,

the criminal dismissal, the lack of supporting medical documentation, photos or the like, and the

conduct of all involved (including Roe discussing with Doe and her family sex, how many bagels

could be placed on Doe’s penis and the like) – all showing consent and a plan for consensual sex

regardless of whether or not alcohol was involved – the expulsion of Doe (who has no prior

discipline or complaints) was inappropriate and/or too severe, resulting in an erroneous outcome.

24.      On, October 6, 2021, Doe was expelled from the University based on the decision of the

hearing panel finding him responsible for committing “Sexual Assault.”15 The panel concluded


15
   After Plaintiff filed an appeal, on October 28, 2021, the University affirmed the Panel’s findings. As of the date of
the filing of this Complaint, Plaintiff is still enrolled in his classes. This action, inter alia, seeks to enjoin the University



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that consent for the sexual acts was not obtained because the level of intoxication of Roe made her

incapable of providing consent, and that Doe knew or reasonably should have known about Roe’s

inability to provide consent.16 The panel also concluded that Roe indicated that she stated verbally

that she did not want to have sex with the Doe even though her testimony was wholly inconsistent

with Doe’s. In its decision, the panel failed to make any finding that Roe was “incapacitated,” as

defined by the University rules, 17 nor was there any evidence presented that Roe’s alleged

“incapability of providing consent” was readily apparent to Doe. Per the University’s policy,

intoxication does not negate consent, only “incapacitation” does.

25.      The University, like most every school in the country, does not punish all, or even most,

drunken sex. Under the University’s Sexual Misconduct Policy, intoxication negates consent only

when it reaches a level of “incapacitation,” which the policy defines as “a state in which a person,

due to a disability, the use of alcohol or drugs, being asleep, or for any other reason, is not capable

of making rational decision about consent to sexual activity and recognizing the consequences of

their decision.”18

26.      The University defines “consent” as a “clear, voluntary and ongoing agreement to engage

in a specific sexual act. Persons need not verbalize their consent to engage in a sexual act for there

to be permission. Permission to engage in a sexual act may be indicated through physical actions

rather than words. A person who is asleep or mentally or physically incapacitated, either through

the effect of drugs or alcohol or for any other reason, or whose agreement was made by threat,




from effectuating its decision to expel Plaintiff. See also Exhibits 2 (Panel Decision) & 3 (Appeal Decision).
16
   See Exhibit 2 – Panel Decision.
17
   See Exhibit 1, pp. 21-50.
18
   See Exhibit 1, p. 25.



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coercion, or force, cannot give consent. Consent may be revoked by any party at any time.

(emphasis added).19

27.        In reaching its decision, the panel completely ignored Doe’s testimony and/or evidence

contradictory to the allegations. The Panel chose to consider and believe only the testimony of

Roe. The Panel also completely blocked Doe’s counsel from asking Roe any questions – AT ALL

– about alcohol – how often she uses alcohol, how many times she had previously consumed

alcohol, her habits regarding consumption of alcohol, and – ESPECIALLY – whether she

consumed alcohol before meeting-up with Plaintiff on the night in question. The small amount of

alcohol Roe drank in Plaintiff’s presence during the several hours (about four and one-half hours)

they spent together could not possibly have rendered her incapacitated, pursuant to the University’s

rules. Even if that small amount of alcohol could have rendered Roe “intoxicated” it could not

have supported the panel’s conclusion that Doe should have concluded that Roe was incapacitated.

28.        In the University’s report that was admitted into evidence at the hearing, Roe’s friend, X.S.,

states she had previously seen Roe drink five to six shots of Hpnotiq20 which resulted in Roe being

“in a good mood,” but she was able to handle that alcohol intake.21

29.        The University even went to the trouble of creating its own after-the-fact “Blood Alcohol

Calculator (BAC) estimates” which seems to track the alcohol consumption of the pair over a

timeline that does not comport with any of the testimony, and is based on an alcohol content level

of Smirnoff Ice that the University completely made up.22

30.        On one level (the most important one), the decision is completely shocking. Not only did

it violate the Policy’s clear definition of “incapacitation,” but there was no testimony at the hearing


19
     Id.
20   Hpnotiq is 17% alc/vol; http://www.hpnotiq.com/
21
     See Exhibit 1, p.5, ¶ 4.
22
     See Exhibit 1, pp. 86-98.



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that Roe was actually incapacitated in the first place, and Roe gave demonstrably contradictory

testimony that dramatically undermined her credibility. Additionally, Roe’s friend testified that

she had been present previously when Roe drank far more than she reported she drank on the night

of September 1, 2021 – five to six shots of Hpnotiq – and said she was simply in a good mood

because she could handle that level of alcohol consumption.

31.        On another level, the decision unfortunately comes as no surprise at all. Roe is a female

student accusing a male student of sexual assault at Texas A&M University-Kingsville. And the

University’s regime for investigating and adjudicating claims of sexual misconduct is rife with

gender bias. It was all but inevitable that Doe would be found responsible. The panel took Roe’s

testimony as true and placed the burden of disproving the allegations with Doe, in violation of its

own policies. 23 The panel found Doe responsible only by ignoring and disregarding its clear

definition of “incapacitation” and the obvious problems with Roe’s credibility, which proves that

other forces were at work. Doe was found responsible, and expelled, because of gender bias.

32.        The panel’s decision has destroyed Doe’s future and caused him severe emotional distress.

It also violated Doe’s common law and statutory rights. Doe now comes to this Court for redress.

                                TEXAS A&M’S SEXUAL MISCONDUCT POLICY

33.        The Texas A&M University System has implemented system-wide policies to comply with

the Title IX rules promulgated by the Department of Education. Those system-wide policies,

operate as a contract between the students attending the University and the University itself.

34.        Texas A&M University System Regulation 08.01.01, “Civil Rights Compliance,” does not

differentiate between employees, with whom the school has employment contracts, and students,

who have accepted a contract to attend the school.24


23
     See Exhibit 1, pp. 37-38; University Rule 4.2.10 (b).
24
     See Exhibit 1, pp. 21-50.



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35.        The regulation states: “Each member chief executive officer (CEO) has the primary

responsibility for ensuring compliance with civil rights laws and related system policy. The CEO

must designate a contact person(s) responsible for overseeing its civil rights protections program.

This person(s) will ensure that all complaints of discrimination are promptly, thoroughly, and

equitably investigated and resolved in accordance with this regulation. The designee(s) will

periodically follow up on situations in which discrimination is found to ensure that the situation

does not reoccur. Members must designate at least one Title IX Coordinator, who may or may not

be the same employee designated (in 1.1) above. Members must notify applicants for admission

and employment, students, parents or legal guardians of elementary and secondary school students,

and employees of the name or title, office address, electronic mail address, and telephone number

of the employee(s) designated as the Title IX Coordinator(s). The notification should also state

that the member does not discriminate on the basis of sex in its education programs and activities,

including admission and employment, in accordance with Title IX of the Educational Amendments

of 1972 and its implementing regulations. The contact information for the Title IX Coordinator(s)

must be prominently displayed on the member’s website and in each handbook or catalog that it

makes available to persons entitled to notification as listed above. Members receiving an inquiry

or a charge of discrimination from a local, state or federal agency must immediately inform the

System Ethics and Compliance Office (SECO) which will, in coordination with the System Office

of General Counsel (OGC), serve as the liaison between the member and the agency.”25

36.        Dr. Hussey, as the Texas A&M University-Kingsville president, is responsible for

designating the Title IX Coordinator, who is responsible for the implementation, enforcement, and

coordination of Title IX and the related university policies and University rules.



25
     See Exhibit 1, pp.28-29; Rule 08.08.01 §1 (in part).



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37.        Title IX applies to complaints of sexual harassment, sexual assault or domestic violence,

dating violence, or stalking based on sex at member institutions of higher education only: (a)

Complaints will be processed under Title IX if all of the following apply: (i) The member has

actual knowledge of a notice of sexual harassment or a complaint involving allegations of sexual

harassment, sexual assault, and/or dating violence, domestic violence, and stalking based on sex

to the member’s Title IX Coordinator or any member official who has authority to institute

corrective measures on behalf of the member. Imputation of knowledge based solely on vicarious

liability or constructive notice is insufficient to constitute actual knowledge. Each member must

designate in its rule which employees have the authority to institute corrective measures; (ii) A

formal complaint is filed by the complainant or signed by the Title IX Coordinator (see

Definitions); (iii) The alleged behavior/conduct must have occurred against a person while in the

United States; (iv) At the time the formal complaint was filed, the complainant was participating

or attempting to participate in the member’s education program or activity. This includes an

enrolled student, an employee, and applicants for admission or employment at the system member,

and; (v) The alleged conduct meets the definition of sexual harassment as set forth in this

regulation.26

38.        Sexual assault is defined as an offense that meets the definition of rape, fondling, incest or

statutory rape as used in the FBl's Uniform Crime Reporting system. A sex offense is any sexual

act directed against another person, without the consent of the victim, including instances in which

the victim is incapable of giving consent. These offenses are defined as:27

           Rape: The penetration, no matter how slight, of the vagina or anus with anybody
           part or object, or oral penetration by a sex organ of another person, without the
           consent of the victim.


26
     See Exhibit 1, pp. 38-39.
27
     See Exhibit 1, p. 27.



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           Fondling: The touching of the private body parts of another person for the purpose
           of sexual gratification, without the consent of the victim, including instances where
           the victim is incapable of giving consent because of his/her age or because of
           his/her temporary or permanent mental incapacity.

           Incest: Sexual intercourse between persons who are related to each other within the
           degrees wherein marriage is prohibited by law.

           Statutory Rape: Sexual intercourse with a person who is under the statutory age of
           consent.

           Sexual assault is explicitly prohibited under this regulation. Aiding another in the
           commission of sexual assault is also prohibited under this regulation. Sexual assault
           is a form of sexual harassment or sex-based misconduct.

39.        Consent is defined as clear, voluntary and ongoing agreement to engage in a specific sexual

act. Persons need not verbalize their consent to engage in a sexual act for there to be permission.

Permission to engage in a sexual act may be indicated through physical actions rather than words.

A person who is asleep or mentally or physically incapacitated, either through the effect of drugs

or alcohol or for any other reason, or whose agreement was made by threat, coercion, or force,

cannot give consent. Consent may be revoked by any party at any time.28

40.        Incapacitated is defined as a state in which a person, due to a disability, the use of alcohol

or drugs, being asleep, or for any other reason, is not capable of making rational decisions about

consent to sexual activity and recognizing the consequences of their decision.29

41.        The hearing panel concluded that consent for the sexual acts was not obtained due to the

level of intoxication of the complainant. The evidence used to support that finding is inconsistent,

inconclusive and did not support that decision because it was not at all apparent to Doe that Roe

was “incapable of providing consent.” The panel also failed to make a finding that Roe was

actually “incapacitated,” as defined by the University rules,30 nor was there any evidence that


28
     See Exhibit 1, p. 23.
29
     See Exhibit 1, p. 25.
30
     See Exhibit 1, pp. 21-50, more specifically p. 25.



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Roe’s alleged “incapability of providing consent” was readily apparent to Doe. Per the

University’s policy, intoxication does not negate consent only “incapacitation” does. The small

amount of alcohol Roe drank in Doe’s presence during the several hours (about four and one-half

hours) they spent together – 50 milliliters (one “shot”) of liquor (possibly vodka)31 and three

Smirnoff Ice32,33, could not have rendered her incapacitated, impaired and/or unable to provide

consent.

42.      The panel seems to equate intoxication – of any degree – with incapacitation which is

contrary to the definition contained in the University’s published Rules. It is thus not clear what

definition of incapacitation the University purports to apply in disciplinary hearings.

43.      In order to find a student responsible for sexual assault for having sex with a student who

is incapacitated, the incapacitation must be apparent – that Doe knew or reasonably should have

known – that Roe was incapacitated. Not just tipsy, not even just intoxicated – intoxicated to the

point that Roe was completely incapacitated.34

44.      In this case, Doe testified that he was not intoxicated, that the only difference in Roe he

noticed is that she was more candid and honest in their conversation, that she never needed

assistance walking or otherwise, that her speech was not slurred and that she didn’t at all appear

intoxicated. It was never apparent to Doe that Roe was even intoxicated, let alone intoxicated to

the point of incapacitation.




31
   Vodka is 40% alc/vol; https://drinklively.com/what-proof-is-vodka/
32
    Smirnoff Ice is 4.5% alc/vol; https://drizly.com/beer/specialty-beer-alternatives/malt-liquor/smirnoff-ice-
original/p4696
https://alcoholvolume.com/smirnoff-ice-alcohol-content-percentage/
33
   The University’s report inaccurately states that Smirnoff Ice is 5% alc/vol, citing to Smirnoff’s website which does
not actually publish any alcohol content for any of its products. See Exhibit 1, p.5.
34
   See Exhibit 1, p. 25; Exhibit 2.



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               THE TITLE IX INVESTIGATION, HEARING AND APPEALS PROCESS
45.    The University unreasonably delayed investigating Doe’s case and bringing it before the

hearing officer.

46.    The alleged incident occurred on September 1, 2020. It was not until March 23, 2021 –

almost seven months later – that Roe made a complaint to the University (likely because she was

displeased about Doe’s criminal case being dismissed). That fact alone should have been a red flag

to the University.

47.    The interviews of Doe, Roe and the two witnesses took place between April 12, 2021 and

May 17, 2021. The “Final Draft Report” was not rendered until nearly six weeks later, on July 1,

2021 – the report itself is only seven pages – and the hearing was not set for almost three more

months, on September 16, 2021.

48.    While the investigator verbally interviewed Doe, which was recorded, the report written

by the investigator did not comport with the actual interview.

49.    The investigator did not reach any determination concerning consent, as that was the

responsibility of the assigned hearing panel.

50.    The investigator’s draft report contained information previously unknown to Doe. For

example, Roe’s friend, X.S., states she had previously seen Roe drink five to six shots of Hpnotiq

which resulted in Roe being “in a good mood,” but she was able to handle that alcohol intake. The

investigator failed to question Doe or Roe about this.

51.    Most importantly, the investigator completely failed to question Roe, as well as L.H. and

X.S. – both of whom were possibly with Roe on the same date, but prior to her meeting-up with

Doe – about whether or not Roe had consumed alcohol BEFORE she met-up with Doe on the

evening of September 1st. And, because the investigator failed to inquire about this fact –

undoubtedly what should have been the most important fact in the investigation – Doe’s counsel


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was not allowed to ask any questions related to alcohol consumption during the hearing – other

than what was in the report.

52.    Based on the amount of alcohol Roe consumed on that night, the investigator estimated

that at 11:00 p.m., her blood alcohol content (BAC) level to be either 0.127 or 0.17. Both estimates

based on the false conclusion that Smirnoff Ice is 5% alc/vol – it is not it is 4.5% – and the higher

estimate based on Roe adding moonshine to her Smirnoff Ice – even though there was absolutely

no testimony to support moonshine being mixed with or added to her Smirnoff Ice. These BAC

estimates are false, not empirically based, unsubstantiated and highly misleading. Nonetheless, the

panel was allowed to consider this “fake” evidence in rendering its decision.

53.    Because the investigator was not a medical doctor or expert, Doe requested that he be

allowed time to confer with such expert to obtain a better understanding of what Roe and Doe’s

BAC could truly have been, but that request was denied.

54.    The assigned investigator ultimately submitted her final draft of the investigation report to

the Hearing Officer/panel without any responses by Doe or Roe to the draft investigation report,

and the investigator did not perform any further investigation concerning additional expert witness,

nor did she consult with a medical expert.

55.    Approximately three weeks after the final hearing, Doe received email correspondence

advising that the panel found he was responsible for Sexual Assault and that his sanction is

expulsion.

56.    Although true cross-examination and attorney advocacy were not permitted during the Title

IX hearing, Doe was permitted to ask limited questions during the hearing.

57.    Doe’s counsel was not allowed to ask Roe any questions about alcohol – how often she

uses alcohol, how many times she had previously consumed alcohol, her habits regarding




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consumption of alcohol, and whether she consumed alcohol before meeting-up with Plaintiff on

the night in question.

58.        The panel outlined their determinations, finding Doe responsible for sexual assault in the

Case Decision letter of October 6, 2021.

59.        The hearing panel concluded that consent for the sexual acts was not obtained because the

level of intoxication of Roe made her incapable of providing consent, and that Doe knew or

reasonably should have known about Roe’s inability to provide consent.

60.        The hearing panel did not use the word “incapacitated” or make any such finding that Roe

was incapacitated – which is required by the University rules.

61.        The decision went on to say that Roe indicated that she stated verbally that she did not

want to have sex with the respondent. This wording is quite curious because this is not actually a

finding that she told Doe that she did not want to have sex with him. Instead, it’s just a regurgitation

of her testimony only, but not Doe’s, regarding that matter. Doe testified that their sex was

completely consensual and that Roe at no time indicated that she didn’t want to have sex – oral or

otherwise – with Doe.

62.        When faced with different testimony regarding the same event, the panel found only Roe

credible and accepted only her version of the events over Doe’s. The panel took Roe’s testimony

as true and placed the burden of disproving the allegations with Doe, in violation of its own

policies.35 The panel found Doe responsible only by ignoring and disregarding its clear definition

of “incapacitation” and the obvious problems with Roe’s credibility. The Hearing Officer

improperly shifted the burden of proof in the case.




35
     See Exhibit 1, pp. 37-38; University Rule 4.2.10 (b).



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63.        Upon receiving the panel’s October 6th decision, on October 11, 2021, Doe filed his

appeal,36 which was denied on October 28, 2021.37

64.        While the University knew Doe was represented by counsel, it refuses to communicate

with said counsel and only forwarded its October 6th and October 28th decisions to Doe, himself.

The University has refused to provide Doe or his counsel with the hearing transcript.

65.        As of the date of the filing of this complaint, Doe still has full access to all of his classes.

                                          COUNT I: TITLE IX
                                          Erroneous Outcome
                                         20 U.S.C. § 1681, et seq.

66.        Doe repeats and re-alleges the allegations of the preceding paragraphs as if fully restated

herein.

67.        Title IX applies to an entire school or institution of higher education if any part of that

school receives federal funding. The Texas A&M University system – including Texas A&M

University-Kingsville – receives federal funding and is covered by Title IX.

68.        Title IX, 20 U.S.C. §§ 1681, et seq., provides, in relevant part, “[n]o person in the United

States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving Federal Financial

assistance.”

69.        A university violates Title IX when it reaches an erroneous outcome in a disciplinary

proceeding when the reason for that erroneous outcome is gender bias.

70.        When concern about the reliability of the outcome becomes grave, gender bias may be

inferred. Here, the University erroneously found Doe responsible for sexual assault when there

was no evidence in the record about whether or how he knew or reasonably should have known


36
     See Exhibit 4.
37
     See Exhibit 3.



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that Roe was incapacitated, as defined by the University’s policies and without making any finding

that Roe was in fact incapacitated – not just tipsy or intoxicated. Additionally, the panel only

considered Roe’s testimony regarding the incident in question while wholly disregarding Doe’s

testimony. There are grave doubts about the reliability of this outcome, and gender bias may be

inferred.

71.       This erroneous outcome was based upon procedural errors that limited the facts before the

panel and a misapplication of the University’s standards and definitions to those facts.

72.       This outcome was also based upon the University’s failure to conduct an adequate,

equitable, and reliable investigation, as their policies require.

73.       The investigation was conducted in a manner biased against Doe and in favor of confirming

Roe’s version of events.

74.       As a result of the foregoing, the University reached an erroneous outcome in the

disciplinary action against Doe, and the facts and circumstances leading to that erroneous outcome

were motivated by gender bias.

                                       COUNT II: TITLE IX
                                        Selective Enforcement
                                       20 U.S.C. § 1681, et seq.

75.       Doe repeats and re-alleges the allegations of the preceding paragraphs as if fully restated

herein.

76.       A University is liable for gender discrimination under Title IX if its decision to initiate

disciplinary proceedings is affected by the student’s gender.

77.       Title IX includes an implied private right of action, without any requirement that

administrative remedies, if any, be exhausted. An aggrieved plaintiff may seek money damages

and other relief.




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78.    The evidence obtained during the investigation in this case and at the hearing indicated that

Doe and the female student had sex. While Roe claims she was intoxicated, Doe was not. The

panel chose to consider only the non-credible testimony of the female student who claimed to be

intoxicated while completely disregarding the testimony of the male student who was not

intoxicated.

79.    The panel’s determination that Doe was responsible for sexual assault was based on a

gender-biased belief that when the two students had sex, that the male student is somehow

responsible for sexual assault because the female student was intoxicated to the point she was

“incapable of providing consent.” If Roe was intoxicated to the point she was “incapable of

providing consent,” that was not at all apparent to Doe, and the only way that would have been

possible is if the female student was drinking alcohol BEFORE she met-up with Doe. The panel

completely disregarded Doe’s testimony and chose only to believe Roe. The panel also failed to

make a determination as to whether Roe was incapacitated.

80.    If any level intoxication actually invalidates consent, then in this case the school is

enforcing its rules only against the male student.

81.    To the extent incapacitation means something more than mere intoxication at the

University, the fact that neither student’s BAC was tested and that the panel only considered the

female student’s testimony and took only her rendition of the events as true indicates improper

gender bias in the University’s application of its sexual misconduct policies.

82.    This is intentional gender discrimination under Title IX, and it has resulted in disciplinary

proceedings against Doe and a concomitant failure to conduct an investigation against his female

accuser, who admittedly engaged in sexual activity with Doe when she was intoxicated.




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83.       The University thus committed impermissible gender bias against Doe in the investigation

and adjudication of the September 1, 2020 incident.

84.       As a direct and proximate result of the Defendant’s violations of Doe’s rights under Title

IX, Doe has suffered severe and substantial damages. These damages include diminished earning

capacity, lost career and business opportunities, litigation expenses including attorney fees, loss of

reputation, humiliation, embarrassment, inconvenience, mental and emotional anguish and distress

and other compensatory damages, in an amount to be determined by a jury and the Court.

85.       Pursuant to 42 U.S.C. § 1988, Doe is entitled to his attorneys’ fees incurred in bringing this

action.

                       COUNT III: DEPRIVATION OF DUE PROCESS
                 42 U.S.C. § 1983, Denial of Fourteenth Amendment Due Process

86.       Doe repeats and re-alleges the allegations of the preceding paragraphs as if fully restated

herein.

87.       This action is also brought against Defendant pursuant to 42 U.S.C. § 1983.

88.       Defendant, acting under color of law, deprived plaintiff of his education at the University

without due process of law, in violation of the 4th and 14th Amendments of the United States

Constitution.

89.       Plaintiff has a constitutionally protected property interest in enrollment as a student at the

University.

90.       Plaintiff has a legitimate expectation of continuing education through graduation.

Defendant expelled Plaintiff without giving him a fair investigation as required by its own policies.

91.       Defendant did not provide Plaintiff with: (1) notice of the charges against him; (2) an

impartial tribunal to determine the validity of the charges against him; or (3) a meaningful hearing

at a meaningful time.



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92.        Plaintiff seeks a declaration by this Court, in accordance with 28 U.S.C.§ 2201 and the

Texas Uniform Declaratory Judgment Act, Texas Civil Practice & Remedies Code, Sections

37.001, et seq., that Dr. Mark Hussey violated his constitutional rights.

93.        42 U.S.C. § 1983 provides, in pertinent part, that any person who deprives any citizen of

the United States of any rights, privileges, or immunities secured by law shall be liable to the party

injured in an action at law or in equity.

94.        The Fourteenth Amendment to the Constitution provides that no state shall “deprive any

person of life, liberty or property, without due process of law.”

95.        Dr. Hussey is a state actor subject to the Fourteenth Amendment. As the University’s

president, Dr. Hussey is responsible for designating the Title IX Coordinator directly responsible

for executing all Title IX functions—including policymaking and adjudication.

96.        A person has a protected liberty interest in his good name, reputation, honor, and integrity,

of which he cannot be deprived without due process.

97.        A student’s interest in pursuing an education is included in the Fourteenth Amendment’s

protection of liberty and property. A student facing expulsion from a public educational institution

is entitled to the protections of due process.

98.        Due process requires, at minimum, notice and opportunity for a meaningful hearing.

99.        “Meaningful hearing” is disputed across federal circuits, and courts are clear that an

accused student may not be entitled to the full protections he might receive in a criminal trial.

100.       Cross-examination is held up as one of the most meaningful tools sufficient to make “issues

of credibility and truthfulness…clear to the decision-makers.”38




38
     Doe v. University of Cincinnati, 872 F.3d 393, 402 (6th Cir. 2017) (internal citations omitted).



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101.      In Doe’s case, he was not afforded an opportunity to fully cross-examine, both because of

the University’s hearing procedures and because of the biased investigation.

                             COUNT IV: BREACH OF CONTRACT

102.      Doe repeats and re-alleges the allegations of the preceding paragraphs as if fully restated

herein.

103.      Doe applied to and enrolled in the University, paying the associated tuition and fees and,

in return, the University contracted to provide Doe access to its undergraduate degree program.

Doe did so with the understanding and reasonable expectation that Defendant would apply and

enforce the policies and procedures set forth in their official publications.

104.      Defendant breached its contract with Doe when it failed to provide him with a fair

investigation or hearing, which resulted in his expulsion.

105.      At all times material to this petition, Doe was ready, willing, and able to perform his part

of the agreement between the parties, and did in fact perform each and every part of the agreed

upon contract, up to the point of termination.

106.      In violation of all promises and obligations under the agreement described herein,

Defendant failed to conform to the terms of the contract. Plaintiff fully performed all duties agreed

upon under his contract.

107.      The relationship is therefore contractual in nature, and Defendant’s official publications

and written policies serve as evidence of the contract between these parties.

108.      The University is bound to follow its written policies and procedures, including those

contained in the University’s rules.

109.      Defendant breached its contract with Doe by failing to comply with their obligations and

follow their written policies and procedures during the investigation and adjudication process.




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110.      A non-exhaustive list of Defendants’ breaches: applying the incorrect evidentiary standards

as to consent and incapacitation; applying an evidentiary presumption in favor of the female

Complainant; failing to conduct a fair and impartial investigation equitable to all parties; failing to

allow Doe and his counsel adequate opportunity for cross examination of adverse witnesses; failure

to properly or fully review and decide upon Doe’s appeal.

111.      Defendant’s breach of its obligations proximately caused Doe damages, including loss of

educational and career opportunities, and other direct and consequential damages that were

foreseeable consequences of Defendant’s actions.

112.      Doe is entitled to recover damages for Defendant’s breach of their obligations in an amount

to be determined at trial.

113.      As addressed in the preceding paragraphs of this Complaint, Doe could not possibly have

received a meaningful hearing in a proceeding in which the hearing officer applied incorrect

definitions of key terms, denied his advisor permission to ask essential questions, applied incorrect

burdens of proof, and denied him the presumption of innocence enshrined in the University’s own

procedures and rules.

114.      Defendant failed to comply with the agreement with Plaintiff as required under the

contract, and this breach has proximately caused Plaintiff to suffer actual, incidental, and

consequential damages.

                                    COUNT V: NEGLIGENCE

115.      Doe repeats and re-alleges the allegations of the preceding paragraphs as if fully restated

herein.




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116.    A Defendant is negligent when that person or entity has a legal duty, breaches that duty,

and damages are proximately caused by the breach of duty. The components of proximate cause

are cause-in-fact and foreseeability.

117.    In conducting its investigation and adjudication of Roe’s complaint against Doe, the

University owed a common law duty to Doe to exercise reasonable care, with due regard for the

truth, an evenhanded application of procedure, and the important and irreversible consequences of

its actions, as well as John Doe’s various liberty and property rights and interests generally.

118.    Through the acts set forth above, the University, acting through its agents, servants and/or

employees, breached that duty by carelessly, improperly, and negligently performing its assigned

duties and facilitating a process that violated the rights and interests of Doe.

119.    In particular, the University has negligently trained and supervised the individuals it

employs to investigate claims of sexual misconduct, adjudicate those claims, or otherwise

implement the Policy. Furthermore, the University negligently trained the members of Doe’s

hearing panel in the Policy’s definition of “incapacitation” and in applying the preponderance of

the evidence standard.

120.    As a direct result of the University’s negligence, and as a direct and proximate cause

thereof, Doe has been seriously and irreparably damaged in the following ways, among others: he

has endured extreme emotional and psychological suffering as a result of the University’s one-

sided treatment of the false sexual assault charges against him; he lost the ability to obtain college

credit during the Fall 2021 semester; his attainment of a college degree, if any, will be delayed,

thereby delaying the time at which he can begin a career and the shortening of the length of that

career; his academic records from the University will reflect his expulsion, handicapping his ability

to be accepted at a transfer school or graduate school or to secure his desired employment; and he




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will suffer a permanent reduction in lifetime earnings. Accordingly, the University is liable to Doe

for negligence and for all damages arising out of that violation.

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that this Honorable

Court allow Plaintiff to recover from Defendant the following:

   a. Plaintiff seeks all damages allowed under the law, including monetary relief;

   b. Plaintiff seeks an injunction that prohibits Defendant from instituting expulsion against

       Doe;

   c. Plaintiff seeks compensatory damages for future pecuniary losses, emotional pain,

       suffering, inconvenience, mental anguish, stress, and other nonpecuniary losses;

   d. Plaintiff seeks reasonable attorney’s fees and costs, including reasonable expert fees;

   e. Plaintiff seeks pre- and post-judgment interest at the maximum rate allowed by law;

   f. all direct damages;

   g. consequential and incidental damages, which may include the value of lost income for

       advancements, lost salary income for future employment, and whatever else may be proven

       during the course of litigation;

   h. compensatory and non-compensatory damages, whether general or special, in an amount

       deemed sufficient by a trier of fact;

   i. liquidated and/or exemplary damages;

   j. court costs, including the costs of litigation; and

   k. any other relief that the Court deems appropriate.

                                               Respectfully submitted,

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                                     Demand for Jury Trial

             Plaintiff hereby demands trial by jury pursuant to Fed. R. Civ. P. 38(b).

                                CERTIFICATE OF SERVICE

        I hereby certify that although counsel of record for Defendant has not yet been identified,
on this, the 2nd day of November, 2021, a true and correct copy of the forgoing was served on Ray
Bonilla, general counsel for the Texas A&M University System by the means indicated below:

Ray Bonilla                                  Via E-Mail: rbonilla@tamus.edu
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Office of General Counsel
Moore/Connally Building, 6th Floor
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                                             /s/ Christopher J. Gale
                                             Christopher J. Gale




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